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                                                                       November 27, 2019



  VIA ECF

  Honorable Pamela K. Chen
  United States District Judge
  United States District Court, Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201

         Re:     Freeman, et al. v. HSBC Holdings plc, et al., 14-cv-6601 (PKC)(CLP)
                 Freeman, et al. v. HSBC Holdings plc, et al., 18-cv-7359 (PKC)(CLP)
                 Bowman, et al. v. HSBC Holdings plc, et al., 19-cv-2146 (PKC)(CLP)

                 Joint Letter Regarding Dismissal and Appeal of Related Cases

  Dear Judge Chen:

          We write on behalf of all parties in the above-referenced actions except for Bank Saderat
  Plc (herein, the “Parties”) in accordance with the Court’s October 28, 2019 directive to provide
  the Parties’ proposal for next steps with respect to these actions. (Oct. 28, 2019 Minute Entry.)
  At a hearing held on October 28, 2019, the Court denied Plaintiffs’ motion for partial
  reconsideration of the Court’s September 16, 2019 Memorandum and Order (the “September 16
  Order”) dismissing Freeman, et al. v. HSBC Holdings plc, et al., 14-cv-6601 (Freeman I), ECF
  No. 237. Consistent with the Court’s directive at the October 28 hearing, the Parties’ counsel have
  conferred extensively on the most efficient procedure to effectuate coordinated dismissal and
  appeal of two related actions that assert substantially similar claims as those dismissed in Freeman
  I—Freeman, et al. v. HSBC Holdings plc, et al., 18-cv-7359 (Freeman II) and Bowman, et al. v.
  HSBC Holdings plc, et al., 19-cv-2146 (Bowman). Freeman II and Bowman have been stayed
  pending the Court’s decision on motions to dismiss in Freeman I.
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         Set forth below are the Parties’ respective positions.

         A.      Plaintiffs’ Position

          Consistent with the District Court’s November 25, 2019 Minute Order, Plaintiffs promptly
  filed their Freeman I notice of appeal on November 26, 2019, ECF No. 246, to ensure that the
  appeal is lodged within 30 days of the October 28, 2019 bench order pursuant to Fed. R. App. P.
  4(a)(4)(A). Assuming the Court does not extend the stay in Freeman II and Bowman past
  November 27, 2019, Plaintiffs will then amend Freeman II to add an additional plaintiff family
  and amend both Freeman II and Bowman to add further factual allegations previously discussed
  in the record.1

          Once the amended Freeman II and Bowman complaints have been filed, the Court can
  either dismiss them on its own, the Parties can reconvene and agree to a stipulation and proposed
  order in those cases or the Court can direct the Parties to proceed in some other manner it so
  determines.

         B.      Defendants’ Position

         Defendants agree with Plaintiffs that Freeman II and Bowman should be dismissed for all
  the reasons that this Court dismissed Freeman I and denied reconsideration of that decision.
  Defendants also do not oppose the limited amendments that the Freeman II and Bowman plaintiffs
  have proposed, which would add (i) one additional plaintiff family to Freeman II and (ii) reference
  to three documents that Freeman I plaintiffs previously filed with the Court.2 However,
  Defendants write separately to note one important distinction between the dismissed complaint in
  Freeman I and the operative complaints in Freeman II and Bowman.

          In particular, Plaintiffs in Freeman I pursued a more limited theory of liability under the
  Antiterrorism Act (“ATA”) and Justice Against State Sponsors of Terrorism Act (“JASTA”) than
  plaintiffs in Freeman II and Bowman. As this Court is aware, as amended by JASTA, the ATA


  1
    Although not germane to the procedural issue before the Court, Plaintiffs note that Defendants
  are incorrect in stating “Plaintiffs in Freeman I chose to pursue only a conspiracy theory of
  liability….” Neither Plaintiffs’ Claims for Relief Six nor Seven in Freeman I are predicated on
  conspiracy. Both claims asserted violations of the material support statute analogous to “aiding
  and abetting” claims under § 2333(d). This distinction was discussed during the October 28, 2019
  oral argument, when Plaintiffs’ counsel noted that Plaintiffs’ Claims for Relief Six and Seven are
  equivalent to § 2333(d) “aiding and abetting” claims (pleaded before § 2333(d) was enacted) but
  that there was no comparable claim pleaded against Bank Saderat Plc in Freeman I. See Oct. 28
  Hearing Tr. at 57:6-59:3. In all other respects, Plaintiffs disagree with Defendants’
  characterizations set forth below, but see no need to address them here.
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   Specifically, those documents were filed in Case No. 14-CV-6601 at ECF Nos. 218 at 5, 7 & n.9,
  and Ex. A; 245 at 1 and Ex. A.
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  provides for a narrow private right of action for victims of a designated Foreign Terrorist
  Organization’s acts of international terrorism against a “person who aids and abets, by knowingly
  providing substantial assistance, or who conspires with the person who committed such an act of
  international terrorism” 18 U.S.C. § 2333(d)(2). Plaintiffs in Freeman I chose to pursue only a
  conspiracy theory of liability, and the Court dismissed all claims on that basis in the September 16
  Order. See Freeman I, 2019 WL 4452364, at *2 (E.D.N.Y. Sept. 16, 2019).3 It was not until the
  Freeman I plaintiffs sought partial reconsideration of the September 16 Order that plaintiffs argued
  for the first time that the Freeman I operative complaint also asserted an aiding and abetting claim
  against one Defendant—Standard Chartered Bank. (See ECF No. 239 at 18-22 in Case No. 14-
  CV-6601.) The Court found “it a little disingenuous” for Plaintiffs’ counsel to even make such an
  argument because plaintiffs’ counsel had “never declared in this case that you were advancing an
  aiding and abetting theory.” (Oct. 28 Hearing Tr. 45:24-46:2.) The Court nevertheless considered
  the Freeman I plaintiffs’ arguments with respect to aiding and abetting and found them to be
  unavailing. (Oct. 28 Hearing Tr. 61:5-16.)

          Unlike the Freeman I action, the complaints in Bowman and Freeman II both expressly
  plead aiding and abetting claims against all Defendants. (Bowman Compl. ¶¶ 1318-1336, ECF
  No. 1 in No. 19-CV-2146; Freeman II Compl. ¶¶ 3710-3728, ECF No. 1 in No. 18-CV-7359.)
  Defendants agree with Plaintiffs that this Court’s reasoning in the September 16 Order and this
  Court’s denial of reconsideration in Freeman I should lead to dismissal of all claims in Freeman II
  and Bowman for failure to state a claim and, in addition, with respect to Count 6 of the Freeman II
  Amended Complaint and Bowman Complaint, for lack of personal jurisdiction. However, because
  aiding and abetting claims were never properly asserted in Freeman I and thus not addressed in
  the Court’s September 16 Order, Defendants proposed to Plaintiffs a form of stipulation and
  dismissal order for Freeman II and Bowman that would make express the reasons for dismissing
  aiding and abetting claims in those cases. Specifically, and as set forth in Standard Chartered
  Bank’s opposition to the Freeman I plaintiffs’ motion for reconsideration (ECF No. 242 at 15-17
  in No. 14-CV-6601), Plaintiffs’ aiding and abetting claims fail to state any claim for relief under
  Linde v. Arab Bank, 882 F.3d 314, 329-31 (2d Cir. 2018) and Siegel v. HSBC N. Am Holdings,
  Inc., 933 F.3d 217, 224-25 (2d Cir. 2019), including for failure to allege plausibly (i) that any
  Defendant was aware that by its alleged conduct it was assuming a role in any act of international
  terrorism; (ii) that any Defendant knowingly and substantially assisted any person who committed
  an act of international terrorism; and (iii) proximate causation. Plaintiffs declined to agree to the
  proposed stipulation and dismissal order.



  3
    Indeed, Freeman I plaintiffs made this clear many times during the course of briefing the motion
  to dismiss. See ECF No. 117 at 31-32 (arguing § 2333(d) provides an alternative basis for only
  for “conspiracy claims”); ECF No. 183 at 6-7 (arguing plaintiffs’ complaint supports JASTA
  “liability for conspiracy” only); ECF No. 218 at 2 (arguing O’Sullivan decision did not apply the
  proper framework to “§2333(d) Conspiracy Claims” only); ECF No. 222 at 2 (attempting to
  distinguish Weiss and Strauss from Freeman I because “[f]irst, the claims here are premised on
  conspiracy” and not aiding and abetting); ECF No. 235 at 3-4 (attempting to distinguish Siegel
  based on argument Freeman I claims are “predicated on conspiracy” rather than aiding and
  abetting).
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           While Defendants agree that no further motion practice is required, Defendants respectfully
   request that-in order to make the record clear for the Court of Appeals-any orders dismissing
   Freeman II and Bowman include the reasons for dismissing aiding and abetting claims asserted in
   those two cases.

                                                Respectfully submitted,




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